           Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 1 of 31




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

------------------------------------------------------------ x
                                                             :
In re:                                                       : Chapter 11
                                                             :
THE CONTAINER STORE GROUP, INC., et al., : Case No. 24-90627 (ARP)
                                                             :
                    Debtors.1                                : (Joint Administration Requested)
                                                             :
------------------------------------------------------------ x

      DECLARATION OF CHAD E. COBEN, CHIEF RESTRUCTURING OFFICER,
        IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

         I, Chad E. Coben, declare under penalty of perjury:

         1.       I am the Chief Restructuring Officer of Debtor The Container Store Group, Inc.,

 and an officer of the other above-captioned debtors and debtors in possession (collectively,

 the “Debtors” and, together with their non-debtor affiliates, the “Company” or “The Container

 Store”). I am also a Senior Managing Director in the Corporate Finance and Restructuring segment

 of FTI Consulting, Inc. (“FTI”), a leading restructuring advisory services firm.

         2.       Since May 2024, FTI has served as consultant and restructuring advisor to The

 Container Store. Since its retention, FTI has assisted The Container Store with long-term business

 plan development, liquidity analyses, general financial planning and analysis, the Strategic

 Alternatives Review (as defined below), and financial restructuring (starting in September 2024).

 Shortly before the Petition Date, I was appointed the Chief Restructuring Officer in connection

 with the filing of the above-captioned chapter 11 cases (the “Chapter 11 Cases”).



 1
     The Debtors in these cases, together with the last four digits of each Debtor’s taxpayer identification number, are:
     The Container Store Group, Inc. (5401); The Container Store, Inc. (6981); C Studio Manufacturing Inc. (4763);
     C Studio Manufacturing LLC (5770); and TCS Gift Card Services, LLC (7975). The Debtors’ mailing address
     is 500 Freeport Parkway, Coppell, Texas 75019.
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 2 of 31




       3.     I have worked in the corporate finance and restructuring field for over 30 years and

have been at FTI for over 15 years. During the course of my career, I have served as an advisor

or interim executive in the transformation, turnaround, and restructuring of dozens of public and

private equity-backed companies, including CEC Entertainment, Monitronics, Sundance Energy,

GTT Communications, Borden Dairy Company, 48 Forty Solutions, Bowery Farms, Wine.com,

Interface Security, and many others. Additionally, I have held executive officer roles including

Chief Restructuring Officer of MediaLab AI, a digital publisher and technology company; Chief

Restructuring Officer of CPXi, a leading ad tech and digital media company; Chief Restructuring

Officer of LodgeNet Interactive, the leading provider of entertainment and connectivity services

to hospitality and healthcare businesses; and Chief Financial Officer of Blue Nile, the largest

online retailer of diamonds and fine jewelry, among others.

       4.     I began my career at Bank of America, where I spent six years in the Media and

Communications Finance Group originating, structuring, and underwriting credit products. I

joined FTI at the beginning of 2009 after FTI’s acquisition of CXO, L.L.C., a boutique turnaround

and advisory services firm. Prior to that, I spent over six years as a part of a core management

team involved in the consolidations, financings, and operations of telecommunications, media, and

technology related businesses. I hold a Bachelor of Science in Economics from the University of

Texas at Austin and a Master of Business Administration from the Cox School of Business at

Southern Methodist University. I am also a former board member of the Turnaround Management

Association, affiliated with the American Bankruptcy Institute, and have been certified as a

Certified Turnaround Professional by the Turnaround Management Association.

       5.     I am authorized to submit this declaration (this “Declaration”) on behalf of the

Debtors. In my capacity as Chief Restructuring Officer of the Debtors, I am responsible for




                                               2
         Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 3 of 31




overseeing the restructuring activities and operations of the Debtors, including reporting to and

assisting the Restructuring Committee of the Board of Directors of The Container Store Group,

Inc. (the “Board”) in making and implementing major corporate decisions.

       6.      As a result of my experience with the Debtors, I am generally familiar with the

Debtors’ businesses, operations, financial matters, operating results, business plans, actual and

projected cash flows, and underlying books and records, restructuring process, and creditor

negotiations. Except as otherwise indicated, all statements set forth in this Declaration are based

on my personal knowledge, my discussions with other members of the Debtors’ management team,

employees, and advisors, my review of relevant documents, and/or my opinion based on my

experience, knowledge, and information concerning the Debtors’ operations and financial

condition. Any references to the Bankruptcy Code (as defined below), the chapter 11 process, and

related legal matters herein reflect my understanding of such matters based on the explanations

provided by the Debtors’ counsel. If called to testify, I would testify competently to the facts set

forth in this Declaration.

       7.      On the date hereof (the “Petition Date”), the Debtors filed voluntary petitions

(the “Petitions”) in the United States Bankruptcy Court for the Southern District of Texas

(the “Court”) commencing cases for relief under chapter 11 of title 11 of the United States Code,

11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”). I submit this Declaration in support of the

Debtors’ Petitions and the “first-day” motions and applications that are being filed with the Court

concurrently herewith (collectively, the “First Day Pleadings”).

       8.      The Debtors commenced these Chapter 11 Cases to implement a restructuring of

their capital structure in a manner that will maintain go-forward business operations and allow the

Company to emerge from bankruptcy as quickly as possible with a strong balance sheet that better




                                                 3
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 4 of 31




positions the Company for long-term success. The Debtors seek to achieve these goals through

the proposed Prepackaged Joint Plan of Reorganization of The Container Store Group, Inc. and

Its Debtor Affiliates under Chapter 11 of the Bankruptcy Code (including all exhibits and

schedules thereto, and as may be amended, modified, or supplemented from time to time,

the “Plan”), filed contemporaneously herewith, pursuant to which, if confirmed, the restructuring

will be effectuated. In support of the Plan and contemplated restructuring, the Debtors reached

consensus with their key stakeholder constituencies and entered into that (a) certain Transaction

Support Agreement dated December 21, 2024 (a copy of which is attached hereto as Exhibit A),

executed by the Company’s Prepetition Term Lenders (as defined below) holding over 90% of the

outstanding principal amount and (b) the DIP & Exit ABL Commitment Letter (a copy of which

is attached hereto as Exhibit B), executed by Eclipse Business Capital LLC (“Eclipse”).

Accordingly, the Plan and contemplated restructuring enjoys the overwhelming support of the

Company’s financial creditors. Importantly, the Plan does not impair any of its general

unsecured creditors. If the Plan is confirmed, the Company anticipates that all trade vendor

and similar claims will be paid or otherwise satisfied, and the Company will continue to

operate in the ordinary course, ultimately protecting the jobs of more than 3,800 employees.

       9.      The Debtors seek the relief set forth in the First Day Pleadings to minimize any

adverse effects of the commencement of these Chapter 11 Cases on their business. I have reviewed

the Debtors’ Petitions and the First Day Pleadings, or have otherwise had their contents explained

to me, and it is my belief that the relief sought therein is essential to ensure the uninterrupted

operation of the Debtors’ business and to successfully maximize the value of the Debtors’ estates.




                                                4
           Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 5 of 31




       10.      To familiarize this Court with the Debtors, their business, the circumstances leading

to the commencement of the Chapter 11 Cases, the objectives of the Chapter 11 Cases, and the

relief the Debtors are seeking in the First Day Pleadings, this Declaration is organized as follows:

            Part I describes the Debtors’ history, business operations, organizational structure, and
             prepetition indebtedness.

            Part II describes the circumstances leading to the commencement of the Chapter 11
             Cases.

            Part III describes the path forward that the Debtors have charted for the Chapter 11
             Cases.

            Part IV lists the First Day Pleadings and provides support for the relief requested
             therein.

I.     COMPANY BACKGROUND

       A.       The Debtors’ Corporate Structure

       11.      The Container Store Group, Inc.—the lead Debtor and a publicly traded corporation

incorporated in the state of Delaware—directly or indirectly owns and controls each of the other

Debtors. Specifically, (a) Debtor The Container Store Group, Inc. (“TCSG”) directly owns and

controls one hundred percent (100%) of the outstanding equity interests of Debtor The Container

Store, Inc. (“TCS”), a Texas corporation; (b) TCS directly owns and controls one hundred percent

(100%) of the outstanding equity interests of Debtor TCS Gift Card Services, LLC (“TCS Gift”),

a Virginia limited liability company, and Debtor C Studio Manufacturing Inc (“C Studio Inc”), a

Delaware corporation; and (c) Debtor C Studio Inc owns and controls one hundred percent (100%)

of the outstanding equity interests of Debtor C Studio Manufacturing LLC (“C Studio LLC,” and

together with C Studio Inc, “C Studio”), a Delaware limited liability company. As described

below, the Company’s Elfa subsidiaries are not debtors and will continue to operate in the ordinary

course of business outside of the Chapter 11 Cases.




                                                   5
         Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 6 of 31




        12.      The following organizational chart depicts the Company’s legal and operating

structure, with non-debtor entities shaded in blue:2




        B.       The Debtors’ Business Operations

                 1.      The Container Store’s History and Business Overview




        13.      The Company was founded in 1978, when Garrett Boone, Kip Tindell, and investor

John Mullen opened the doors of the Company’s very first store location in Dallas, Texas.


2
    This chart is subject to further updates by the Debtors in the event of any changes to the Debtors’ corporate
    structure.



                                                       6
         Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 7 of 31




Notwithstanding a modest 1,600 square feet of retail space, the store’s mission was to provide

customers with storage and organization solutions to accomplish their projects through an

assortment of innovative products and unparalleled customer service. The store quickly gained

popularity due to its unique product offerings, including collections of industrial shelving, plastic

bins, and Swedish-made wire drawers.

       14.     Since then, over the course of 45 years, the Company has grown to over 100 store

locations, now operating in 34 states and the District of Columbia.

       15.     As the Company has expanded its footprint across the United States, it achieved

major milestones by satisfying the growing demand for home organization solutions. In 1991, the

Company expanded outside of its home state of Texas with the opening of a store in Atlanta,

Georgia. In 1999, the Company acquired Elfa International, a long-time Swedish vendor, thereby

becoming the owner, distributor, retailer, and manufacturer of its best-selling product—Elfa

Drawers. In 2000, the Company launched containerstore.com, broadening its reach to customers

nationwide.

       16.     The Company’s ownership structure changed in 2007 when it was sold to TCSG

(formerly known as TCS Holdings, Inc.), a majority stake of which was owned by Leonard Green

& Partners, L.P. (“LGP”), with the remainder held by other investors and certain employees of the

Company. On November 6, 2013, the Company completed the initial public offering of its

common stock, at which time LGP held a controlling interest in the Company as the majority

shareholder. Since then, LGP has reduced its ownership to less than 50% of the Company’s

outstanding common stock.

       17.     The Company continued to grow following the initial public offering. In 2019, the

Company established a second, 700,000 square foot distribution center in Aberdeen, Maryland (to




                                                 7
         Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 8 of 31




complement its first distribution center located in Coppell, Texas). During the COVID-19

pandemic, the Company shifted to contactless curbside pickup and shipped a record number of

packages to customers, eventually surpassing $1.0 billion in operational sales for fiscal year 2021.

2023 witnessed another milestone with the opening of the Company’s 100th store in Princeton,

New Jersey.

       18.     Today, The Container Store remains the nation’s only retailer with a solution-

oriented offering of custom spaces, organizing solutions, and in-home services. As an industry-

leading specialty retailer in that space, The Container Store is dedicated to serving its customers

who crave discovery, inspiration, and solutions that simplify their lives and maximize the spaces

within their homes.     With the ultimate

objective of transforming lives through the

power of organization, the Company

continues to deepen its relationships with

customers, expand its reach to attract new

customers, and invest in its business

practices.

               2.      Overview of Operations and Revenue

       19.     As discussed above, the Company provides merchandise and services covering a

broad selection of custom spaces, organizing solutions, and in-home services. The Company

conducts business in physical stores (with product offerings tailored based on store location and

size) and online. Products are sourced both domestically and internationally and shipped to stores

or customers from domestic distribution centers using contract carriers.




                                                 8
           Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 9 of 31




                        a.      Product Segments

          20.   The Company is divided into two main product segments: (a) the TCS segment

(the “TCS Segment”) and (b) Elfa. For fiscal year 2023, the Company had total net sales of

approximately $847.7 million. The TCS Segment and Elfa accounted for approximately 94.5%

($801.4 million) and 5.5% ($46.3 million) of such sales, respectively.

          21.   The TCS Segment. The TCS Segment is comprised of two sub-segments: Custom

Spaces and General Merchandise (each as defined below). The Container Store Custom Spaces

sub-segment (“Custom Spaces”) offers a range of branded product lines that are entirely owned

and manufactured by the Company. These lines provide customers with both metal- and wood-

based organizational products, ranging from portable drawers to fully custom shelving units.

Among the Custom Spaces brands, the Elfa Classic brand features epoxy-bonded steel products

that are ideal for pantries, playrooms, and kid’s spaces. Elfa Décor+ provides organizational

solutions with stylish back panels, LED lighting, full-extension drawers, and solid birch drawer

fronts and trim. Elfa Garage+ offers adjustable, specialized storage for gear and tools, and heavy-

duty workspaces. The Preston system allows customers to design their own luxury, custom, wood-

based organization systems.         Across these

brands,     customers    can    select    from   a

comprehensive suite of customizable storage

systems, which include in-home design and

installation, at a variety of price points.

          22.   To support Custom Spaces, the Company operates the C Studio manufacturing

facility in Elmhurst, Illinois, which designs and manufactures the Company’s premium wood-

based custom space product offerings. The facility is equipped with advanced manufacturing




                                                     9
         Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 10 of 31




technology and staffed by skilled artisans and designers who work collaboratively to create

innovative and customaizable storage solutions.

         23.   The Container Store General Merchandise sub-segment (“General Merchandise”)

provides complementary organization solutions to complete the Company’s Custom Spaces

offerings. Within General Merchandise, the Company offers over 10,000 storage and organization

products including drawers, boxes, bins, shelving, food storage, laundry hampers, hooks, and gift

packaging, with the goals of simplifying customers’ lives and maximizing the spaces within their

homes.

         24.   Elfa.   The Container Store, Inc.’s wholly owned Swedish subsidiary, Elfa

International AB (“Elfa”), designs and manufactures products featured and sold in the Company’s

TCS segment, such as component-based shelving and drawer systems. Founded in 1948 and

headquartered in Malmö, Sweden, Elfa has been a supplier to The Container Store since its opening

in 1978. The Company acquired Elfa in 1999 and remains the exclusive distributor of Elfa

products in the United States today. Elfa operates three manufacturing facilities with two located

in Sweden and one in Poland. In addition to supplying The Container Store, Elfa also sells its

products on a wholesale basis to various retailers in approximately 30 countries around the world,

concentrated in the Nordic region of Europe. For the avoidance of doubt, Elfa and its subsidiaries

are not debtors in the Chapter 11 Cases.

                       b.     Sourcing and Distribution

         25.   The Company has multiple domestic and international sources of supply for each

category of products that it sells. In fiscal year 2023, the Company sourced 47% of its purchases

from domestic suppliers and the remaining 53% from foreign suppliers (approximately 33% of

such foreign suppliers are located in China). Elfa represents approximately 27% of the Company’s

purchases. Although the Company does not enter into long-term contracts with its vendor partners,


                                               10
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 11 of 31




15 of its top 20 vendors have worked with the Company for the last 10 years and several of those

vendors have worked with the Company since its inception in 1978.

       26.     In the TCS Segment, a majority of the Company’s merchandise flows through one

of the Company’s two distribution centers, prior to being transported to the Company’s retail stores

and/or online customers. The first distribution center is co-located with the Company’s support

center in Coppell, Texas. The approximately 1.1 million square foot facility was designed and

constructed specifically for The Container Store and is comprised of approximately 100,000 square

feet of support center space and approximately 1 million square feet of distribution center space.

The Company’s second distribution center located in Aberdeen, Maryland is approximately

700,000 square feet and is comprised primarily of distribution center space. The Company also

operates the aforementioned C Studio manufacturing facility, a 58,000 square feet domestic

location in Elmhurst, Illinois to directly manufacture and supply the Company’s premium, wood-

based Custom Spaces offerings.

       27.     The Company’s distribution centers serve dual purposes: replenishing retail store

inventory and fulfilling direct-to-customer orders. To transport products to stores, the Company

relies on third-party truckload carriers, whereas major parcel carriers handle direct-to-customer

deliveries. With best-in-class logistics technology, the Company optimizes its operations and

processes for receiving, picking, packing, and shipping, laying a strong foundation for future

growth. Continuous enhancements in process efficiency, material handling, and automation

further strengthen the distribution centers, enable greater service level efficiencies, and improve

inventory management. These strategically located distribution centers enhance service levels for

customers and expand the Company’s network capacity.




                                                11
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 12 of 31




                       c.      Retail Channels

       28.     Customers can purchase the Company’s products online or at one of the Company’s

stores, all of which are operated pursuant to real property leases. As of the Petition Date, the

Company had 104 stores in 34 states and the District of Columbia, with approximately

24,000 square feet of floor space on average. The Company’s stores are strategically located near

urban centers with high home project and custom space demands, facilitating unique home

shopping experiences under one roof. The below map illustrates the location of store locations

and distribution centers by state:




       29.     As a multi-channel retailer, The Container Store offers a full suite of e-commerce

solutions, including a website, mobile application, and call center to complement the physical

stores. The website, containerstore.com, is intended to replicate the store experience, offering

virtually the same product assortment and providing real time inventory information for stores, as

well as certain products found exclusively online. The Company offers free shipping on orders



                                                 12
           Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 13 of 31




over $99 or, in the alternative, customers can order online and then pick up at a store, utilize

curbside pick-up services, or request same-day home delivery in select markets. For fiscal year

2023, approximately 28% of sales revenue was generated online.

                      3.     Human Capital

           30.        As of the Petition Date, the Company employs approximately 3,800 people, of

whom approximately 2,900 work in the Debtors’ store locations.3 Specifically, and as described

further in the Wages Motion,4 the Debtors’ workforce consists of approximately 750 salaried

employees, 2,200 part-time hourly employees, and 850 full-time hourly employees.

           C.         The Debtors’ Prepetition Capital Structure

           31.        As of the Petition Date, the Company had approximately $243.1 million of funded

debt (inclusive of accrued and unpaid interest, but excluding issued but undrawn letters of credit

under the Prepetition ABL Facility (as defined below)), consisting of (a) an asset-based revolving

lending facility and (b) a secured term loan facility. The Company’s prepetition funded debt

obligations are summarized in the below table:

                                                                                                 Outstanding
         Facility          Governing Document            Borrower                Maturity
                                                                                                  Principal
    Prepetition ABL        Prepetition ABL Credit   The Container Store,    November/October
                                                                                               $80,000,0005
    Facility               Agreement                Inc.                    2025
    Prepetition Term       Prepetition Term Loan    The Container Store,
                                                                            January 2026       $163,125,321.74
    Loan Facility          Credit Agreement         Inc.
    Total Secured Debt                                                                         $243,125,321.74




3
      The average employee headcount per store is 26, and high-volume stores employ a Custom Spaces sales manager.
4
      The “Wages Motion” is the Emergency Motion of Debtors for Entry of an Order (I) Authorizing the Debtors to
      (A) Pay Certain Employee Compensation and Benefits, (B) Maintain and Continue Such Benefits and Other
      Employee-Related Programs, and (C) Pay Prepetition Claims of Contracted Labor; (II) Granting Relief from
      Automatic Stay with Respect to Workers’ Compensation Claims; and (III) Granting Related Relief, filed
      contemporaneously herewith.
5
      This amount excludes letters of credit issued under the Prepetition ABL Facility.



                                                          13
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 14 of 31




                1.       The Prepetition ABL Facility

        32.     On April 6, 2012, TCS, as borrower, TCSG, TCS Gift, and TCS Installation

Services, LLC,6 in their respective capacities as guarantors thereunder, JPMorgan Chase Bank,

N.A., as administrative agent and collateral agent (in such capacity, the “Prepetition ABL Agent”),

and the other lenders and letter-of-credit issuers party thereto (the “Prepetition ABL Lenders”)

entered into that certain Credit Agreement (as amended by that certain Amendment No. 1, dated

as of April 8, 2013, that certain Amendment No. 2, dated as of October 8, 2015, that certain

Amendment No. 3, dated as of May 20, 2016, that certain Amendment No. 4, dated as of August

18, 2017, that certain Amendment No. 5, dated as of November 25, 2020, and that certain

Amendment No. 6, dated as of May 22, 2023, the “Prepetition ABL Credit Agreement”), pursuant

to which the Prepetition ABL Lenders provided an asset-based revolving credit facility

(the “Prepetition ABL Facility”) in a current aggregate principal amount of up to $100 million,

with a $40 million sublimit for the issuance of letters of credit and a $15 million sublimit for the

issuance of swingline loans. In addition, the Prepetition ABL Facility includes an uncommitted

incremental revolving facility for an amount of up to $50 million, which is subject to satisfaction

of specified conditions. The Prepetition ABL Facility matures on the earlier of (a) November 25,

2025 and (b) October 31, 2025, if any portion of the Prepetition Term Loan Obligations (as defined

below) remains outstanding on such date and the maturity date of the Prepetition Term Loan

Facility (as defined below) is not extended. As of the Petition Date, there was approximately

$80 million in principal outstanding and $7.5 million in letters of credit issued under the

Prepetition ABL Facility.




6
    TCS Installation Services, LLC has since been merged into TCS.



                                                      14
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 15 of 31




        33.     The obligations arising under the Prepetition ABL Facility (collectively,

the “Prepetition ABL Obligations”) are guaranteed by Debtors TCSG, TCS Gift, C Studio Inc,

and C Studio LLC and, as set forth in that certain ABL Facility Security Agreement dated as of

April 6, 2012 (as amended by that certain Amendment No. 1 to Security Agreement and Pledge

Agreement, dated as of October 28, 2024, the “Prepetition ABL Security Agreement”), secured

by security interests in, and liens upon, substantially all assets of Debtor TCS and the above-

mentioned Debtor guarantors, including first priority security interests in, and liens upon, the

following assets of the Debtors: (a) all accounts; (b) all chattel paper; (c) all deposit accounts,

securities accounts (for each of clauses (a) through (c), excluding accounts, chattel paper, deposit

accounts and securities accounts which constitute identifiable proceeds of Prepetition Term Loan

Priority Collateral (as defined below)); (d) all inventory; and (e) documents, general intangibles,

instruments, and commercial tort claims, supporting obligations, letter-of-credit rights, books and

records, and collateral security and guarantees evidencing, governing, or relating to any of the

items referred to in the preceding clauses (a) through (d) (collectively, the “Prepetition ABL

Priority Collateral”). Pursuant to the Intercreditor Agreement (as defined below), the Prepetition

ABL Lenders hold second priority security interests in and liens upon the Prepetition Term Loan

Priority Collateral (as defined below).7

                2.       The Prepetition Term Loan Facility

        34.     On April 6, 2012, Debtor TCS, as borrower, and Debtors TCSG, TCS Gift, and

TCS Installation Services, LLC,8 in their respective capacities as guarantors thereunder, JPMorgan




7
    The collateral package for the Prepetition ABL Facility also includes the equity pledge of Elfa, which was
    increased from 65.0% to 100.0% pursuant to that certain Amendment No. 1 to Security Agreement and Pledge
    Agreement, dated as of October 28, 2024.
8
    TCS Installation Services, LLC has since been merged into TCS.



                                                      15
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 16 of 31




Chase Bank, N.A., as administrative agent and collateral agent (in such capacity, the “Prepetition

Term Loan Agent”), and the other lenders party thereto (the “Prepetition Term Lenders,” and

together with the Prepetition ABL Lenders, the “Prepetition Secured Creditors”) entered into that

certain Credit Agreement, dated as of April 6, 2012 (as amended by that certain Amendment No.

1 dated as of April 8, 2013, that certain Amendment No. 2 dated as of November 27, 2013, that

certain Amendment No. 3 dated as of May 20, 2016, that certain Amendment No. 4 dated as of

August 18, 2017, that certain Amendment No. 5 dated as of September 14, 2018, that certain

Amendment No. 6 dated as of October 8, 2018, that certain Amendment No. 7 dated as of

November 25, 2020, that certain Amendment No. 8 dated as of June 14, 2023, and that certain

Amendment No. 9 dated as of October 8, 2024, the “Prepetition Term Loan Credit Agreement”),

pursuant to which the Prepetition Term Lenders provided a senior secured term loan facility in an

initial principal amount of $275 million (the “Prepetition Term Loan Facility,” and together with

the Prepetition ABL Facility, the “Prepetition Credit Facilities”). The Prepetition Term Loan

Facility matures on January 31, 2026. As of the Petition Date, there was approximately $163.1

million in principal outstanding under the Prepetition Term Loan Facility.

       35.     The obligations arising under the Prepetition Term Loan Facility (the “Prepetition

Term Loan Obligations”) are secured by security interests in, and liens upon, substantially all

assets of the Debtors, including first priority security interests in, and liens upon, the following

assets of the Debtors: (a) all equipment, fixtures, real property, intellectual property and investment

property (other than any investment property described as Prepetition ABL Priority Collateral);

(b) all instruments, documents, and general intangibles (other than any instruments, documents,

and general intangibles described as Prepetition ABL Priority Collateral); (c) all “Term Loan

Priority Accounts” (as defined in the Intercreditor Agreement); (d) all other collateral other than




                                                  16
         Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 17 of 31




Prepetition ABL Priority Collateral; and (e) all collateral security and guarantees with respect to

the foregoing and all cash, money, insurance proceeds, instruments, securities, financial assets,

and deposit accounts received as proceeds of the foregoing, other than the Prepetition ABL Priority

Collateral (collectively, the “Prepetition Term Loan Priority Collateral”).9 Additionally, the

Prepetition Term Loan Obligations are secured by second priority security interests in, and liens

upon, the Prepetition ABL Priority Collateral.

                 3. The Intercreditor Agreement

        36.      The respective rights of the Prepetition ABL Lenders and the Prepetition Term

Lenders with respect to their shared collateral are governed by that certain Intercreditor

Agreement, dated as of April 6, 2012, by and between the Prepetition ABL Agent and the

Prepetition Term Loan Agent (as amended by that certain Amendment No. 1 dated as of April 8,

2013, the “Intercreditor Agreement”). The Intercreditor Agreement governs, among other things,

the division of collateral into Prepetition ABL Priority Collateral and Prepetition Term Loan

Priority Collateral and the priority of claims with respect thereto, as well as the respective rights

of the Prepetition ABL Lenders and the Prepetition Term Lenders in connection with certain

bankruptcy matters, such as the provision of postpetition financing.

                 4. Unsecured Debt

        37.      In addition to their funded debt, the Debtors have customary unsecured debt,

including amounts owed to trade vendors and landlords. The Company routinely incurs fixed,

liquidated, and undisputed payment obligations in the ordinary course of business to various third-

party providers of goods and services. These include obligations owed to The Container Store’s



9
    The Prepetition Term Loan Priority Collateral also includes the equity pledge of Elfa, which was increased from
    65.0% to 100.0% pursuant to that certain Amendment No. 1 to Security Agreement and Pledge Agreement, dated
    as of October 28, 2024.



                                                       17
          Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 18 of 31




extensive network of vendors, upon which the Company relies to supply merchandise. A majority

of these vendors conduct business with the Company on a purchase order-by-purchase order basis

and are paid on prearranged terms.               As of the Petition Date, the Debtors estimate that

approximately $25.9 million of merchandise trade debt is outstanding. As discussed in greater

detail in the All Trade Motion,10 certain of these claims are entitled to statutory priority, including

under section 503(b)(9) of the Bankruptcy Code, or may give rise to liens in favor of shippers,

warehousemen, or mechanics in the event they go unpaid. However, regardless of whether such

claims are afforded priority under the Bankruptcy Code, the Debtors anticipate that all such

vendor and service provider claims will be paid or otherwise satisfied in full in the ordinary

course.

          38.     The Company also has certain lease obligations, as its stores, distribution centers,

and corporate offices are operated exclusively from leased premises. The Debtors estimate that an

average of approximately $11.7 million accrues on account of lease and occupancy-related

expenses each month. A substantial liability accounting for the remaining expenses associated

with the Debtors’ leases is reflected on the Debtors’ books at any given time. The Debtors are

continuing to operate in the ordinary course during the Chapter 11 Cases.

II.       EVENTS PRECEDING COMMENCEMENT OF CHAPTER 11 CASES

          A.      Challenging Post-Covid Retail Environment, Strategic Alternatives Review,
                  and Appointment of Transaction Committee

          39.     The persistently challenging retail environment—including pulled-forward

demand and subsequently reduced consumer spending in the storage and organization category,

increased price sensitivity, post-COVID winddown, fewer home sales, and intensified


10
      The “All Trade Motion” means the Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
      Debtors to Pay Prepetition Trade Claims in the Ordinary Course of Business and (II) Granting Related Relief,
      filed contemporaneously herewith.



                                                        18
          Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 19 of 31




competition—significantly impacted the Company’s performance from its peak in 2021. These

challenges resulted in a 10.5% year-over-year decline in revenue and a 77.1% year-over-year

decline in adjusted EBITDA for the fiscal quarter ended September 28, 2024. Furthermore, the

Company has faced increased interest expenses and looming debt maturities.

         40.      Against the backdrop of these challenges, the Board initiated a formal review

process to evaluate strategic alternatives including a potential sale of the Company, new equity

investment, or refinancing of the Company’s Prepetition Credit Facilities (such process,

the “Strategic Alternatives Review”). In furtherance of the Strategic Alternatives Review and in

consultation with the Company’s advisors, the Board also determined that it was in the best

interests of the Company and its stakeholders to establish a committee of the Board

(the “Transaction Committee”)11 to assist the Board in fulfilling its responsibilities relating to the

Strategic Alternatives Review and to oversee the Strategic Alternatives Review (including

reviewing, negotiating, and evaluating any potential transactions and making recommendations to

the Board regarding the advisability of one or more transactions).

         B.      The Initial Marketing Process and the Potential Equity Investment from
                  Beyond, Inc.

         41.      As part of the Strategic Alternatives Review, the Transaction Committee retained

JPMorgan Chase & Co. (“JPMorgan”) as financial advisor. JPMorgan thereafter conducted an

extensive marketing and outreach effort to gauge interest in a purchase of, or investment in, the

Company. That effort included initial outreach to approximately forty (40) strategic investors and

twenty-six (26) financial sponsors. Twenty parties submitted NDAs and engaged in diligence.



11
     The Transaction Committee is comprised of certain members of the Board who are independent and disinterested
     with respect to any contemplated transaction (other than as a director of the Company or equity ownership in the
     Company). Kristofer Galashan, Lisa Klinger, Anthony Laday, and Nicole Otto served on the Transaction
     Committee.



                                                         19
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 20 of 31




Five parties submitted preliminary, non-binding purchase or investment proposals. Four of those

parties declined to progress beyond their initial non-binding proposals.

       42.     Ultimately, the marketing process did not result in any offers to purchase the entire

Company. Instead, the Company received only one offer from Beyond, Inc. (“Beyond”) to make

a strategic investment in the Company through a preferred equity transaction. On October 15,

2024, the Company announced a strategic partnership with Beyond with the goal of positioning

the Company to achieve incremental sales growth over time by utilizing and benefiting from

Beyond’s intellectual property, customer data, network of brands, and affiliate relationships. As

part of the strategic partnership, Beyond agreed to invest $40.0 million in the Company through a

convertible preferred equity transaction subject to certain terms and conditions, including an

amendment or refinancing of the Prepetition Credit Facilities in a manner commercially acceptable

to Beyond (the “Beyond Equity Investment”).

       C.      The Formation of the Ad Hoc Group and the Company’s Retention of
               Houlihan

       43.     Meanwhile, an ad hoc group of Prepetition Term Lenders (the “Ad Hoc Group”)

organized in response to the Company’s financial performance and upcoming maturities. When it

became unlikely that the sale process would yield a sale of the entire Company and repay the

Company’s funded debt in full, the Company also retained Houlihan Lokey, Inc. (“Houlihan”) in

September 2024 to engage with the Ad Hoc Group and explore standalone financing options.

       D.      Deteriorating Business Performance and Continued Liquidity Pressures

       44.     During the Summer and Fall of 2024, the Company continued to experience

worsening business performance and significant pressures on its liquidity. For the second quarter

ended September 28, 2024, the Company’s consolidated net sales declined by 10.5% year-over-

year to $196.6 million. For the same period, the Company incurred a consolidated net loss of



                                                20
          Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 21 of 31




$16.1 million, compared to a net loss of $23.7 million, respectively, in the second quarter of fiscal

year 2023. The Company’s adjusted EBITDA for the same period was $3.9 million, representing

a $43.8 million (or 91.8%) decrease from the peak level of $47.7 million in the second quarter of

fiscal year 2021.

         45.      In addition to the challenging retail environment that persisted during this time, the

Company’s liquidity was further negatively impacted by its need to increase its borrowings under

the Prepetition ABL Facility in advance of the holiday period.12 These higher borrowings under

the Prepetition ABL Facility and a higher interest rate on the Prepetition Term Loan Facility during

the second quarter of fiscal year 2024 led to a 15.4% year-over-year increase in consolidated net

interest expense to $6.0 million in the second quarter of fiscal year 2024.

         46.      The Company’s liquidity was further constrained by mounting vendor pressure in

the form of strained vendor credit relationships resulting from the fear that the Company would

not have enough cash on hand to pay vendors in full in the wake of its publicly reported operating

performance and downgrades of the Company’s credit ratings (by S&P Global Ratings in March

2024 and by Moody’s Investor Service in November 2024). Such pressure continues to impact

liquidity and inventory levels as the Company works to address these vendor concerns.

         E.       Amendment No. 9 to Prepetition Term Loan Facility

         47.      The foregoing factors rendered the Company unable to comply with the

consolidated leverage ratio covenant in the Prepetition Term Loan Credit Agreement for the

second quarter of fiscal year 2024. On October 8, 2024, as part of its continued support of the

Company’s business and strategic initiatives, the Ad Hoc Group agreed to enter into Amendment



12
     Historically, the Company’s liquidity fluctuates as a result of building inventory for key selling periods and the
     Company’s borrowings generally increase in its second and third fiscal quarters as it prepares for promotional
     campaigns and the holiday season.



                                                          21
          Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 22 of 31




No. 9 to the Prepetition Term Loan Facility (the “Prepetition Term Loan Amendment No. 9”)

which, among other things, (i) waived the testing of the consolidated leverage ratio covenant

(defined in the Prepetition Term Loan Credit Agreement as the ratio of total debt to consolidated

EBITDA) for the second quarter of fiscal year 2024; (ii) added a covenant for the Company to

enter into a qualified financing transaction, subject to the approval of the Required Lenders (as

defined in the Prepetition Term Loan Credit Agreement) by November 15, 2024 (which date has

been extended from time to time to December 31, 2024 by the Required Lenders); and (iii)

amended certain of the covenants in the Prepetition Term Loan Credit Agreement which, among

other things, narrowed the Company’s ability to incur additional indebtedness or engage in certain

non-ordinary course transactions.

         F.       Beyond’s Unwillingness to Consummate an Investment and the Pursuit of
                  Alternative Transactions

         48.      In connection with the potential Beyond Equity Investment, the Company and Ad

Hoc Group engaged in sustained, good-faith efforts to offer an amendment and/or refinancing

proposal acceptable to Beyond in order to move forward with consummating the contemplated

investment. Unfortunately, despite the best efforts of the Ad Hoc Group and the Company, Beyond

ultimately indicated that it was unwilling to accept any of the financing proposals supported by

the Ad Hoc Group.13 Simultaneously, the Company’s liquidity position continued to become

increasingly constrained, necessitating additional capital to support the business.14



13
     Beyond stated publicly as early as November 20, 2024: “[T]he proposed financing terms we have reviewed to
     date fall short of what we believe is necessary to complete the transaction.” As of the date hereof, Beyond has
     not indicated it intends to accept any proposal made.
14
     The Company’s second quarter sales results represented sequential improvement compared to the prior quarter
     results. For example, Custom Spaces continued to grow due to increased brand awareness from higher marketing
     spend and investments in in-home design services. From a customer demand perspective, orders placed for
     Custom Spaces but not yet delivered experienced year-over-year growth during the second quarter of fiscal year
     2024. Additionally, General Merchandise continued to sequentially improve as the Company focused on ensuring
     core product categories are in stock, while enhancing key areas of the assortment with newness and innovation.


                                                        22
         Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 23 of 31




         49.      Additionally, given the upcoming maturity wall (i.e., springing maturity of the

Prepetition ABL Facility on October 31, 2025 and maturity of the Prepetition Term Loan Facility

on January 31, 2026), the Company faced the potential for events of default across its capital

structure as early as June 2025, if it were unable to obtain an audit opinion for fiscal year 2024

financial statements without a going concern qualification. In fact, without the Prepetition Term

Loan Amendment No. 9 described above, the Company would have been in non-payment default

under the Prepetition Term Loan Facility in October 2024.

         50.      Accordingly, Houlihan pivoted to explore financing options that were not

dependent upon the Beyond Equity Investment and solicited proposals to refinance the Debtors’

Prepetition ABL Facility or provide incremental third-party financing (including debtor-in-

possession financing). Houlihan also engaged with the Ad Hoc Group to explore options to

provide financing to support a standalone restructuring of the Company. The Company and the

Ad Hoc Group exchanged numerous proposals for the restructuring of the Company’s capital

structure on both an in-court and out-of-court basis. As negotiations with the Ad Hoc Group and

the Prepetition ABL Lenders progressed, the Board concluded that proceeding with a replacement

ABL facility for a comprehensive balance-sheet restructuring would represent the most value-

maximizing path and position the Company for long term success.

         G.       Appointment of Restructuring Committee

         51.      In connection with the Company’s ongoing exploration of strategic alternatives, on

December 4, 2024, the Board constituted an independent special restructuring committee

(the “Restructuring Committee”)15 that is responsible for exploring and overseeing negotiations



     Nevertheless, such improvements were insufficient to counterbalance the overall challenging retail environment
     that is not expected to reverse course in the near future.
15
     The Restructuring Committee members are Lisa Klinger, Nicole Otto, Karen Stuckey, and Charles Tyson.



                                                        23
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 24 of 31




related to potential restructuring transactions, including financing, sale, reorganization,

recapitalization, strategic transactions, and other opportunities and transactions, for the Company

and its subsidiaries, subject to Board approval.

       52.     Based upon guidance from the Restructuring Committee, the Company, in

consultation with its advisors, ultimately determined that it did not have sufficient liquidity to

operate in the ordinary course during or beyond January 2025 absent new liquidity and a

substantial modification of its current capital structure. Accordingly, and in light of the fact that

the Company faced both potential future defaults as well as upcoming maturities on both its

Prepetition ABL Facility and the Prepetition Term Loan Facility, the Debtors and the Ad Hoc

Group engaged in iterative negotiations regarding the terms of a value-maximizing path forward

for the Company that would have the requisite stakeholder support and provide sufficient

deleveraging and access to new capital. These discussions ultimately led to entry into the

Transaction Support Agreement on December 21, 2024.

III.   ANTICIPATED PATH FORWARD

       A. Generally

       53.     The restructuring and recapitalization transactions contemplated by the Transaction

Support Agreement provide for, among other things: (a) $40 million in additional financing and

related financial accommodations through the DIP-to-Exit Term Loan Facility (as defined below),

which, together with any payable-in-kind interest and Prepetition Term Loan Obligations that are

“rolled-up” into the DIP-to-Exit Term Loan Facility, will convert into committed exit financing

upon confirmation and effectiveness of the Plan; (b) the refinancing of the Prepetition ABL

Facility via a replacement DIP-to-Exit ABL facility providing incremental borrowing availability

and liquidity; and (c) the equitization of a significant portion of the Prepetition Term Loan

Obligations.   In connection with these transactions, the Company expects to emerge from


                                                   24
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 25 of 31




chapter 11 as a private company within two months of the Petition Date.              Notably, the

Transaction Support Agreement calls for payment or satisfaction in full and in the ordinary

course of all general unsecured creditors (including vendors, service providers, and

employees, among others) under the Plan.             The Debtors believe that the comprehensive

restructuring contemplated by the Transaction Support Agreement will position the Company for

long-term viability as a going concern.

       54.     As noted above, the Transaction Support Agreement provides for the Prepetition

Term Lenders to receive any remaining new equity of reorganized TSCG under the Plan, after

taking into account the DIP Equity Premium and the Management Incentive Plan (each as defined

in the Plan). In addition, it is my understanding that all Prepetition Term Lenders have or will

have been offered the right to participate, on a pro rata basis, in a superpriority DIP-to-exit term

loan facility (the “DIP-to-Exit Term Loan Facility”) comprising DIP Term Loans (backstopped

by the DIP Backstop Parties (as defined in the Transaction Support Agreement)) in an aggregate

principal amount of approximately $40 million (plus premiums owed to the DIP Backstop Parties

and approximately $75 million of Prepetition Term Loan Obligations to be “rolled-up” into the

DIP-to-Exit Term Loan Facility). Thus, no Prepetition Term Lenders will be prejudiced by the

terms of the DIP-to-Exit Term Loan Facility as a result of not being afforded the opportunity to

participate. The DIP-to-Exit Term Loan Facility will enable the Debtors to finance the Chapter 11

Cases before the loans thereunder are exchanged on the Plan Effective Date (as defined in the

Transaction Support Agreement) for exit term loans.

       55.     Further, under the DIP & Exit ABL Commitment Letter, Eclipse has agreed to

provide a replacement ABL facility in the form of debtor-in-possession financing that will roll into




                                                25
          Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 26 of 31




an exit ABL facility at the conclusion of these Chapter 11 Cases (the “DIP-to-Exit ABL Facility”,

and together with the DIP-to-Exit Term Loan Facility, the “DIP-to-Exit Facilities”).16

         B.       Debtors’ Need for Access to Cash Collateral, the DIP-To-Exit Facilities

         56.      Based on my review of the Debtors’ actual and projected cash flows and underlying

books and records, and in connection with discussions with the Debtors’ advisors, I believe it is

vital that the Debtors obtain immediate approval of the DIP-to-Exit Facilities to ensure that the

Debtors have immediate access to the interim new money financing and cash collateral necessary

to continue operations and administer these Chapter 11 Cases. The Debtors had approximately

$11.8 million in cash as of the Petition Date. As noted above, the Debtors, in consultation with

their advisors, expect to drop below minimum operational liquidity in early January if the DIP-to-

Exit Facilities are not available, and likely sooner, if suppliers reduce trade terms over concerns

around the viability of the business. Without immediate access to the proceeds of the proposed

DIP-to-Exit Facilities, the Debtors will lack sufficient liquidity to maintain their business

operations after the Petition Date. Indeed, the Debtors anticipate having negative cash flow during

the Chapter 11 Cases, and the liquidity provided by the DIP-to-Exit Facilities are critical to (a)

enable the Debtors to meet the minimum liquidity requirements of the use of Cash Collateral and

(b) provide operating liquidity across Debtor entities and meet the Debtors’ working capital needs.

         57.      The DIP-to-Exit Facilities are a critical requirement for the Debtors’ consensual

use of the Cash Collateral of the Prepetition Secured Creditors (including the lenders under the

Prepetition ABL Facility). Absent the DIP-to-Exit Facilities, I believe the Prepetition Secured



16
     Defined terms used in connection with discussion of the DIP-to-Exit Facilities but not otherwise defined herein
     shall have the meanings ascribed to them in the Emergency Motion of Debtors for Interim and Final Orders (I)
     Authorizing the Debtors to (A) Obtain Senior Secured Priming Superpriority Postpetition Financing and (B) Use
     Cash Collateral, (II) Granting Liens and Providing Claims with Superpriority Administrative Expense Status,
     (III) Granting Adequate Protection to the Prepetition Secured Parties, (IV) Modifying the Automatic Stay, (V)
     Scheduling a Final Hearing and (VI) Granting Related Relief (the “DIP Motion”).


                                                        26
          Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 27 of 31




Creditors would be unwilling to agree to the Debtors’ use of their Cash Collateral or to the priming

of their prepetition liens that would otherwise be necessary to obtain postpetition financing.

          58.   Furthermore, without access to the proceeds of the DIP-to-Exit Facilities, the

Debtors have insufficient liquidity to manage their working capital needs and pay the various

disbursements identified in the Approved Budget, attached as Exhibit 4 to the DIP/Cash Collateral

Orders.     The disbursements shown in the Approved Budget include, among other critical

payments, payroll and benefits, merchandise, rent, shipping/freight, customs, and payments

contemplated by the Debtors’ proposed “first day” orders. Any disruption in paying the Debtors’

employees and vendors will result in the loss of the Debtors’ workforce and the destruction of key

vendor relationships and put at risk the ability to fulfill customer obligations and keep stores open.

          59.   The Debtors’ ability to pursue the Plan for the benefit of all stakeholders hinges on

their ability to stabilize their businesses, and approval of the DIP-to-Exit Facilities will send a

crucial signal to the Debtors’ employees, suppliers, vendors, and customers that the Debtors intend

to and will have the means to maintain ordinary course operations and meet their financial

commitments throughout the course of these Chapter 11 Cases. Moreover, time is of the essence

for the Debtors, as they have faced mounting pressure from trade creditors and need to effectuate

the restructuring contemplated under the Transaction Support Agreement and Plan as soon as

possible to ensure they can exit chapter 11 in time to capitalize on an upcoming high season and

manage trade partners appropriately. Subject to Court approval, the Debtors intend to immediately

use a portion of the first draw of the DIP-to-Exit Facilities to pay vendor payables and support

continued shipments of products. Additionally, the Debtors intend to use the first draw of the DIP-

to-Exit Term Loan Facility to ensure timely payment of both merchandise and non-merchandise




                                                 27
          Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 28 of 31




vendor payments that will become due within the next four weeks, as well as rent payments due

on January 1, 2025.

          60.    The DIP-to-Exit Facilities has been extensively negotiated, and, in light of the

Debtors’ liquidity needs, the Debtors’ fiduciaries determined in their business judgment that entry

into the DIP-to-Exit Facilities was the best option to protect the Debtors’ business and all parties

in interest. Accordingly, I believe that the Debtors’ access to Cash Collateral and the DIP-to-Exit

Facilities are both necessary and will provide sufficient liquidity to achieve the Debtors’ value-

maximizing goals and should therefore be approved.

          C.     Investigation Subcommittee

          61.    The Transaction Support Agreement and the Plan also contemplate the provision

of typical releases to the Debtors’ directors and officers, among others. In light of these proposed

releases, on December 4, 2024, the Board constituted a two-member independent special sub-

committee of the Restructuring Committee (the “Investigation Subcommittee”).17                            The

Investigation Subcommittee tasked Hunton Andrews Kurth, LLP (“Hunton AK”)18 with leading,

at the direction of the Investigation Subcommittee, an investigation into prepetition transactions

and conduct to ensure that any releases to be provided under the Plan are appropriate in scope and

nature.    This investigation has been overseen by the Investigation Subcommittee with the

assistance of Hunton AK. I understand that, to date, no viable claims have been identified that

would affect the Board’s decision to authorize entry into the Transaction Support Agreement and

solicitation of the Plan.




17
     The Investigation Subcommittee members are Karen Stuckey and Charles Tyson.
18
     In connection with the Company’s contingency planning efforts, the Company engaged Hunton AK as co-counsel
     on November 26, 2024.



                                                      28
           Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 29 of 31




IV.       FACTS SUPPORTING RELIEF SOUGHT IN FIRST DAY PLEADINGS19

          62.      In furtherance of their objective of preserving value for all stakeholders, the Debtors

have filed the following First Day Pleadings and related orders (the “Proposed Orders”)

contemporaneously herewith, and have therein requested that the Court consider entering the

Proposed Orders granting the relief sought in First Day Pleadings. For the avoidance of doubt, as

to those First Day Pleadings that seek authorization to pay prepetition obligations, the Debtors

seek authority, but not direction, to pay amounts or satisfy obligations that are the subject of the

First Day Pleadings. The First Day Pleadings include:

          A.       Administrative and Procedural Pleadings

                      i.    Emergency Motion of Debtors for Entry of an Order Directing Joint
                            Administration of Chapter 11 Cases

                     ii.    Emergency Motion of Debtors for Entry of an Order (I) Authorizing the
                            Debtors to File a Consolidated Creditor Matrix and List of the 30 Largest
                            Unsecured Creditors; (II) Waiving the Requirement to File a List of Equity
                            Security Holders; (III) Authorizing the Debtors to Redact Certain
                            Personally Identifiable Information; and (IV) Granting Related Relief

                    iii.    Emergency Motion of Debtors for Entry of an Order Establishing
                            Notification Procedures and Approving Restrictions on (A) Certain
                            Transfers of Interests in Debtors and (B) Claims of Certain Worthless Stock
                            Deductions

                     iv.    Emergency Ex Parte Application for Entry of an Order Authorizing the
                            Employment and Retention of Kurtzman Carson Consultants, LLC D/B/A
                            Verita Global as Claims, Noticing, and Solicitation Agent

          B.       Business Operation Motions

                      i.    Emergency Motion of Debtors for Entry of an Order (I) Authorizing the
                            Debtors to (A) Pay Certain Employee Compensation and Benefits,
                            (B) Maintain and Continue Such Benefits and Other Employee-Related
                            Programs, and (C) Pay Prepetition Claims of Contracted Labor;




19
      Unless otherwise defined herein, all capitalized terms in this Part IV shall have the meanings ascribed to them in
      the applicable First Day Pleadings.



                                                           29
Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 30 of 31




             (II) Granting Relief from Automatic Stay with Respect to Workers’
             Compensation Claims; and (III) Granting Related Relief

       ii.   Emergency Motion of Debtors for Entry of an Order (I) Authorizing the
             Debtors to Pay Certain Prepetition Taxes and Fees and (II) Granting
             Related Relief

      iii.   Emergency Motion of Debtors for Entry of an Order (I) Authorizing the
             Debtors to (A) Pay Prepetition Insurance Program Obligations,
             (B) Maintain the Insurance Policies Postpetition, (C) Maintain the Bonding
             Program and Honor Related Obligations, and (D) Honor Letters of Credit,
             and (II) Granting Related Relief

      iv.    Emergency Motion of Debtors for Entry of an Order (I) Prohibiting Utilities
             from Altering, Refusing, or Discontinuing Service, (II) Approving the
             Debtors’ Proposed Form of Adequate Assurance of Payment to Utilities,
             (III) Establishing Procedures for Resolving Requests for Additional
             Adequate Assurance, and (IV) Granting Related Relief

       v.    Emergency Motion of Debtors for Entry of an Order (I) Authorizing the
             Debtors to (A) Honor Prepetition Obligations to Customers and
             (B) Continue Customer Programs and (II) Granting Related Relief

      vi.    Emergency Motion of Debtors for Entry of Interim and Final Orders
             (I) Authorizing the Debtors to (A) Continue to Operate Their Existing Cash
             Management System, Including Maintenance of Existing Bank Accounts,
             Checks, and Business Forms, (B) Maintain Existing Deposit Practices, and
             (C) Perform Intercompany Transactions, (II) Waiving Certain U.S. Trustee
             Guidelines, and (III) Granting Related Relief

C.   All Trade Motion

        i.   Emergency Motion of Debtors for Entry of an Order (I) Authorizing the
             Debtors to Pay Prepetition Trade Claims in the Ordinary Course of
             Business and (II) Granting Related Relief

D.   Solicitation Procedures Motion

        i.   Emergency Motion of Debtors for Entry of Order (I) Scheduling Combined
             Hearing to Consider (A) Final Approval of Disclosure Statement,
             (B) Approval of Solicitation Procedures and Form of Ballot, and
             (C) Confirmation of Plan; (II) Establishing an Objection Deadline to
             Object to Disclosure Statement and Plan; (III) Approving the Form and
             Manner of Notice of Combined Hearing, Objection Deadline, and Notice of
             Commencement; (IV) Approving Notice and Objection Procedures for the
             Assumption or Rejection of Executory Contracts and Unexpired Leases;
             (V) Conditionally Waiving Requirement of Filing Schedules of Assets and
             Liabilities, Statements of Financial Affairs, and 2015.3 Reports;


                                     30
        Case 24-90627 Document 6 Filed in TXSB on 12/22/24 Page 31 of 31




                      (VI) Conditionally Waiving Requirement to Convene the Section 341
                      Meeting of Creditors; (VII) Conditionally Approving the Disclosure
                      Statement and (VIII) Granting Related Relief

       E.      DIP Motion

                 i.   Emergency Motion of Debtors for Interim and Final Orders (I) Authorizing
                      the Debtors to (A) Obtain Senior Secured Priming Superpriority
                      Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens
                      and Providing Claims with Superpriority Administrative Expense Status,
                      (III) Granting Adequate Protection to the Prepetition Secured Parties, (IV)
                      Modifying the Automatic Stay, (V) Scheduling a Final Hearing and (VI)
                      Granting Related Relief

       63.     I have reviewed each of the First Day Pleadings, Proposed Orders, and exhibits

thereto, or have otherwise had their contents explained to me, and the facts set forth therein are

true and correct to the best of my knowledge, information, and belief. Moreover, I believe that the

relief sought in each of the First Day Pleadings: (a) is vital to enabling the Debtors to make the

transition to, and operate in, chapter 11 with minimal employee attrition and disruption to their

businesses, and without loss of productivity or value; (b) is necessary to preserve valuable

relationships with customers, trade vendors, landlords, and other creditors; and (c) constitutes a

critical element in the Debtors’ ability to successfully maximize value for the benefit of their

estates and a prudent exercise of the Debtors’ business judgement.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: December 22, 2024
       Dallas, Texas

                                          /s/ Chad E. Coben
                                          Chad E. Coben
                                          Chief Restructuring Officer




                                                31
